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                                                                                                   United States District Court
                                                                                                     Southern District of Texas

                                                                                                         ENTERED
                                                                                                       August 28, 2018
                                UNITED STATES DISTRICT COURT
                                                                                                     David J. Bradley, Clerk
                                 SOUTHERN DISTRICT OF TEXAS
                                   CORPUS CHRISTI DIVISION

ALFRED BOURGEOIS                                         §
                                                         §
          Petitioner                                     §
VS.                                                      §    CIVIL ACTION NO. 2:07-CV-223
                                                         §
UNITED STATES OF AMERICA                                 §

                                     MEMORANDUM AND ORDER

         In 2004, a jury found Alfred Bourgeois guilty of murdering his two-year-old daughter.

The jury returned a verdict of death. After the Fifth Circuit upheld the conviction and sentence

on direct appeal, Bourgeois filed a motion to vacate his conviction and sentence pursuant to 28

U.S.C.A. § 2255.          Bourgeois’ 2255 motion raised fifteen claims, including that he was

intellectually disabled,1 and thus exempt from execution, under Atkins v. Virginia, 536 U.S. 304

(2002). The Court held an evidentiary hearing in which expert and lay witnesses gave testimony

relating to his Atkins claim.            The Court denied Bourgeois’ 2255 motion in a lengthy

Memorandum and Order which included substantial discussion of the Atkins issue. (United

States v. Bourgeois, C-02-CR-216, DE 660 at 42-95). Bourgeois did not seek appellate review

of the denial of his Atkins claim.

         On March 27, 2018, Bourgeois filed a Second Motion to Vacate Sentence Pursuant to 28

U.S.C. § 2255. (DE 10). Soon thereafter, Bourgeois also filed a motion in the Court of Appeals

for the Fifth Circuit seeking leave to proceed in a successive 2255 action.                        In re: Alfred

Bourgeois, No. 18-40270. Bourgeois bases his second motion on Moore v. Texas, 137 S. Ct.

1039 (2017), which rejected Texas’ approach to Atkins claims. Bourgeois argues that this


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    “The term ‘intellectual disability’ has replaced the term ‘mental retardation.’” In re Cathey, 857 F.3d 221, 223
    (5th Cir. 2017) (citing Brumfield v. Cain, ––– U.S. ––––, 135 S.Ct. 2269, 2274 n.1 (2015)).



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Court’s rejection of his Atkins claim relied on Fifth Circuit jurisprudence that followed the Texas

approach criticized in Moore.

       The Anti-Terrorism and Effect Death Penalty Act (“AEDPA”) strongly discourages

inmates from filing more than one section 2255 motion. See 28 U.S.C. § 2255(h). Bourgeois

concedes that he “applies to file a second or successive motion under § 2255(h)(2).” (DE 10 at

2).   Section 2254(h) places authority in the circuit, not district, court to decide whether

successive proceedings are appropriate. 28 U.S.C. § 2255(h).

       On August 23, 2018, the Fifth Circuit denied Bourgeois’ motion to proceed in a

successive section 2255 action. In re: Alfred Bourgeois, No. 18-49279, 2018 WL 4042625 (5th

Cir. Aug. 23, 2018).     Because the Fifth Circuit did not authorize successive section 2255

proceedings in this case, the Court lacks jurisdiction to entertain Bourgeois’ second section 2255

motion. The Court, therefore, DISMISSES Bourgeois’ second section 2255 motion WITHOUT

PREJUDICE.

       SIGNED and ORDERED this 27th day of August, 2018.


                                                 ___________________________________
                                                           Janis Graham Jack
                                                    Senior United States District Judge




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